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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                              Case Number 09-20006-04-BC
v.                                                            Honorable Thomas L. Ludington

PERNELL THOMAS,

               Defendant.

__________________________________________/


     ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
 DEFENDANT’S PLEA OF GUILTY AS TO COUNT TWO, AND TAKING THE RULE
              11 PLEA AGREEMENT UNDER ADVISEMENT

       A plea hearing was conducted on January 11, 2010, by United States Magistrate Judge

Charles E. Binder pursuant to the Defendant’s consent. The magistrate judge issued his report on

January 12, 2010, recommending acceptance of Defendant’s guilty plea. Either party may serve and

file written objections “[w]ithin fourteen days after being served with a copy” of the report and

recommendations. 28 U.S.C. § 636(b)(1). The district court will make a “de novo determination

of those portions of the report . . . to which objection is made.” Id. Where, as here, neither party

objects to the report, the district court is not obligated to independently review the record. Thomas

v. Arn, 474 U.S. 140, 149–52 (1985).

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation [Dkt

# 187] is ADOPTED.
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       It is further ORDERED that the defendant’s guilty plea as to count two is ACCEPTED, and

the Rule 11 Plea Agreement [Dkt. # 185] is taken UNDER ADVISEMENT.

                                                      s/Thomas L. Ludington
                                                      THOMAS L. LUDINGTON
                                                      United States District Judge
Dated: February 4, 2010


                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on February 4, 2010.

                                                         s/Tracy A. Jacobs
                                                         TRACY A. JACOBS




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